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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       Honorable Chief Judge Beryl A. Howell
              v.                            :
                                            :       Case No.: 1:21-CR-671-BAH
JAMES DOUGLAS LOLLIS, JR.,                  :
                                            :
              Defendant.                    :
                                            :


  UNITED STATES’ REPORT AND POSITION REGARDING PUBLIC RELEASE OF
            VIDEO EVIDENCE RE: JAMES LOLLIS SENTENCING

       Per this Honorable Court’s February 15, 2022 Minute Order, the United States makes the

following video evidence available to the Court electronically. These videos were previously

made available to the Court in connection with the plea hearing, but were identified by different

file names. As identified in the chart below, the file names have since been changed to describe

the contents of the video and correspond to the exhibit labels referenced in the Government’s

sentencing memorandum.

 File Name                              Source              Description                    Length

 Exhibit A – BWC Capitol                Metro Police        Body-worn camera video         1:00
 Exterior.mp4                           Department
 Exhibit B – CCV Senate Wing            U.S. Capitol        CCTV video from inside the 4:25
 Door.mp4                               Police              Senate Wing Door
 Exhibit C – BWC Lower West             Metro Police        Body-worn camera video     0:28
 Terrace.mp4                            Department
 Exhibit D - Gunby Facebook             Facebook page of    Video of Gunby and Lollis      9:05
 video.jpg                              Derek Gunby         on Metro
 CCV Lower West Terrace.mp4             U.S. Capitol        CCTV video from Lower          0:48
                                        Police              West Terrace entrance
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       The Government has conferred with counsel for the Defendant, and neither the

Government nor the Defendant object to the public release of the above-listed videos.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            DC Bar No. 481052

                                     By:     s/ Christopher D. Amore
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                               CERTIFICATE OF SERVICE

       On February 15, 2022, a copy of the foregoing was served on counsel of record

for the defendant via the Court’s Electronic Filing System.

                                                   s/ Christopher D. Amore
                                                   CHRISTOPHER D. AMORE
                                                   Assistant U.S. Attorney
                                                   Capitol Riot Detailee




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